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                  IN THE UNITED STATES DISTRICT COURT
                        DISTRICT OF CONNECTICUT


                                        :
        UNITED STATES OF AMERICA        :
                                        :
                      v.                :
                                        :   3:23-CR-00026 (KAD)
        GLENN OZTEMEL and               :
        EDUARDO INENECCO                :
                                        :




GLENN OZTEMEL’S MEMORANDUM OF LAW IN SUPPORT OF HIS MOTION FOR
         ENTRY OF AN ORDER DIRECTING THE GOVERNMENT
           TO PRODUCE ALL BRADY AND GIGLIO MATERIAL




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August 25, 2023
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          Defendant Glenn Oztemel renews his motion, brought pursuant to the Fifth Amendment

to the United States Constitution and this Court’s Standing Order governing discovery in

criminal cases, for an Order requiring the forthwith production of all Brady and Giglio material,

including evidence favorable to the defense contained in Attorney Proffers (defined below), or in

the possession of the Brazilian authorities, and any other Brady and/or Giglio material in the

government’s possession, custody, or control. See U.S. Const. amend. V; Crim. App’x, Standing

Order on Disc., U.S. District Ct. for the District of Ct. (Am. Dec. 19, 2022) (the “Standing

Order”).1

                                                INTRODUCTION

          The Standing Order requires production of Brady/Giglio materials within fourteen days

from arraignment (here, by March 13, 2023), and the defense is entitled to receipt of such

information within sufficient time to use it effectively. See generally Brady v. Maryland, 373

U.S. 83 (1963); Giglio v. United States, 405 U.S. 150 (1972). The government has again

violated these requirements in two key respects.

          First, the government has not produced Brady/Giglio material from statements of

evidence or fact(s) made by attorneys for witnesses during meetings, presentations, or other

conversations with the government (“Attorney Proffers”). The government told defense counsel

that (1) it will not disclose Brady/Giglio material in Attorney Proffers if those facts are already

known to the defense through government discovery or are contained in the notes of government

counsel, see August 25, 2023 Declaration of Nelson A. Boxer (“Boxer Decl.”) Exh. C, and (2)

that no such Attorney Proffers ever occurred, Boxer Decl. ¶ 8. Neither representation is

accurate. The government must produce Brady/Giglio material from an Attorney Proffer—even


1
    Available At: https://www.ctd.uscourts.gov/sites/default/files/Revised-Local-Rules-8.14.23.pdf
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if it provides exculpatory evidence from one witness unknown to the defense that corroborates

already-produced exculpatory evidence from another witness, and regardless of whether it is or is

not contained in the notes of government counsel. Moreover, the defense is aware that an

attorney for at least one witness made exculpatory representations of fact relating to Mr. Oztemel

to government counsel—i.e., representations contradicting allegations in the Indictment and the

contentions of the government’s cooperating witness, Rodrigo Berkowitz. Any Brady/Giglio

material in that Attorney Proffer, or in similar presentations made by or communicated from

other attorneys on behalf of their clients, must be produced.

       Second, the government has not requested nor produced Brady/Giglio material in the

possession of the Brazilian authorities. When the government conducts a joint investigation with

a foreign government, as in the instant case, it must make a good faith effort to produce

Brady/Giglio material in that foreign government’s possession. Here, the government has

worked closely with the Brazilian Ministério Público Federal (“MPF”) and its “Operation Car

Wash” taskforce—i.e., the wide-ranging investigation into alleged corruption at Brazil’s state-

owned and state-controlled oil and gas company known as Petrobras. Specifically, the

government and the MPF have exchanged documents, conducted joint witness interviews, and

shared substantial fines collected in successful prosecutions related to Petrobras. While we are

aware, from witness statements, that the MPF possesses Brady/Giglio material, the government

has not sought exculpatory or impeachment materials from the Brazilian authorities and has

informed the defense that it will not do so.

       The Court should remedy these failures by ordering the government to comply with its

Brady/Giglio obligations forthwith, and/or any other relief or sanction the Court deems

appropriate to remedy the government’s ongoing violations.



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                                                      FACTS

     I.   The Indictment.

          The Indictment, unsealed on February 17, 2023, ECF No. 7, charges Glenn Oztemel and

Eduardo Innecco in seven counts under four statutes: (1) conspiracy to violate the Foreign

Corrupt Practices Act (“FCPA”), see 18 U.S.C. § 371; (2) violation of the FCPA, see 15 U.S.C. §

78dd-2(a); (3) conspiracy to commit money laundering, see 18 U.S.C. §1956(h); and (4) money

laundering, see 18 U.S.C. §1956(a)(2)(A).

          According to the Indictment, Mr. Oztemel worked as an “oil and gas trader” for Trading

Companies #1 and #2. Id. ¶ 6. Mr. Innecco “was an oil and gas broker and worked as an agent

for various energy trading companies in Brazil, including Trading Company #1, Trading

Company #2, and Trading Company #3.” Id. ¶ 7. Purportedly, between 2010 and 2018, Mr.

Innecco and Mr. Oztemel paid bribes to “foreign officials,” as that term is defined under the

FCPA—primarily, Rodrigo Berkowitz—an employee of Petrobras. See id. ¶ 2. In exchange,

Mr. Berkowitz allegedly provided Mr. Innecco and Mr. Oztemel with confidential information

that gave Trading Companies #1 and #2 “improper business advantages in trades” with

Petrobras. Id. The Indictment alleges the participation of three unindicted Co-Conspirators,

whose identities have been made known to the defense. Id. ¶¶ 16-18.

    II.   Operation “Car Wash.”

          In March 2014, the MPF opened an investigation into corruption at Petrobras, which was

given the codename “Lava Jato” (i.e., “Car Wash”); it has resulted in approximately 180 criminal

actions in Brazil. See Operacao Lava Jato, Understand the Case, Ministerio Publico Federal.2

Evidence from Operation Car Wash led to FCPA prosecutions against individuals and entities in



2
    Available At: https://www.mpf.mp.br/grandes-casos/lava-jato (last visited: Aug. 25, 2023).
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the United States, which involved significant cooperation between the U.S. Department of

Justice (the “DOJ”) and the MPF. See, e.g., U.S. v. Berkowitz, 19 Crim. 64, Inf., ECF No. 9

(E.D.N.Y. Feb. 8, 2018); U.S. v. Andrade, 17 Crim. 497, Inf., ECF No. 6 (E.D.N.Y Sept. 22,

2017); U.S. v. Luz, 20 Crim. 558, Inf., ECF No. 6 (E.D.N.Y. Dec. 9, 2020); U.S. v. Sargeant

Marine Inc., 20 Crim. 363, Inf., ECF No. 7 (E.D.N.Y. Sept. 22, 2020). Indeed, the DOJ press

releases related to these Car Wash prosecutions praised the “significant cooperation” of the MPF.

See, e.g., Press Release, Sargeant Marine Inc. Pleads Guilty and Agrees to Pay $16.6 Million to

Resolve Charges Related to Foreign Bribery Schemes in Brazil, Venezuela, and Ecuador, Dep’t

J. (Sept. 22, 2020); Press Release, Honeywell UOP to Pay Over $160 Million to Resolve Foreign

Bribery Investigations in U.S. and Brazil, Dep’t J. (Dec. 19, 2022).3

III.   Procedural History.

       Mr. Oztemel was arrested in Miami on February 15, 2023, and was released on bail the

next day. See ECF No. 5. Mr. Oztemel was first presented in this district—and arraigned—on

February 27, 2023. See ECF No. 17. Soon thereafter, counsel began unsuccessfully, and

repeatedly, attempting to access the Brady and Giglio materials to which Mr. Oztemel is entitled.

           A. Mr. Oztemel’s First Brady/Giglio Motion.

       On June 6, 2023, Mr. Oztemel filed a motion to compel the government to produce

Brady/Giglio material based (primarily) on the government’s repeated citation to an incorrect

standard for when its Brady/Giglio obligations are triggered. See ECF No. 48 at 11; ECF No. 56

at 2-5. The government, on several occasions, stated that it need only “produce evidence that is

‘so clearly exculpatory or valuable for impeachment purposes that any reasonable prosecutor will



3
 Each Available At: https://www.justice.gov/opa/pr/sargeant-marine-inc-pleads-guilty-and-agrees-pay-
166-million-resolve-charges-related-foreign; https://www.justice.gov/opa/pr/honeywell-uop-pay-over-
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immediately recognize its utility to the defense.’” See, e.g., ECF No. 54 at 4 (quoting Ostrer v.

United States, 577 F.2d 782, 785 (2d Cir. 1978)). Contrary to this description, under

Brady/Giglio, the government must disclose any evidence that is favorable to Mr. Oztemel—i.e.,

that tends to exculpate him or is useful to impeach the credibility of a government witness—and

has any reasonable likelihood of changing the outcome of the proceedings. See United States v.

Coppa, 267 F.3d 132, 142 (2d Cir. 2001).4 The Court scheduled oral argument for July 26, 2023.

See ECF No. 58. The government requested that defense counsel withdraw the motion to

compel, promising that the government “is presently in compliance” with its Brady/Giglio

obligations, “which are summarized in United States v. Coppa . . .” Boxer Decl. Exh. A. Based

on the government’s e mail, on July 18, 2023, Mr. Oztemel withdrew his Brady/Giglio motion,

because counsel for the government represented that “[t]he government is presently in

compliance with its obligations under Brady v. Maryland, and Giglio v. United States, which are

summarized in United States v. Coppa, as well as with its obligations under the Standing Order

on Criminal Discovery of the District of Connecticut with respect to Brady and Giglio material.”

ECF No. 63 (full citations omitted). The Court canceled oral argument and the motion was

withdrawn. ECF No. 65.

              B. The Discovery Requests.

          On July 24, 2023, based in part on discovery already produced, defense counsel sent the

government a letter containing additional and renewed discovery demands (the “Discovery

Requests”). Boxer Decl. Exh. B. Among other things, defense counsel requested:

      1. All memoranda, notes (including by attorneys for the government), and any other records
         of all meetings or any other oral or written statements of attorney proffers to the
         government of statements their clients would make in response to any government
         questioning.


4
    The government also misstated the Second Circuit’s holding in Ostrer. See ECF No. 58 at 4.
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   2. Documents, notes, and memoranda (including held by law enforcement authorities in
      Brazil) documenting each of Rodrigo Berkowitz’s

   3. All records of agreements with, including any benefits offered or provided to, Rodrigo
      Berkowitz by Brazilian authorities, including any leniency offered or provided.

   4. All records of agreements with, including any benefits offered or provided to,



   5. Rodrigo Berkowitz’s Brazilian income tax returns for the years 2010-2020.

Id. at 1-2. The letter explained that Mr. Oztemel is entitled to information held by the Brazilian

authorities because the DOJ and MPF had conducted a joint investigation. Id. at 1.

       Two weeks later, on August 8, 2023, the government responded (the “Government

Response”), and, with respect to records relating to Attorney Proffers, stated:

       We are also reviewing any factual representations made by attorneys for represented
       parties and will disclose any relevant facts that are not already known to you through
       other discovery pursuant to our Brady and Giglio obligations. Finally, as we stated in our
       May 26, 2023 letter, we are not aware of any legal authority supporting your demand for
       notes prepared by government attorneys.

Boxer Decl. Exh. C at 1. Regarding the requests for information possessed by the Brazilian

authorities, the government stated:

       [W]e have already produced all responsive records obtained from Brazilian authorities
       pursuant to the MLAT process (see Production Volume 6) and all documents voluntarily
       provided to the government by Mr. Berkowitz (see Production Volumes 2, 4 & 5). To the
       extent that law enforcement authorities in Brazil may be in possession of additional
       records responsive to this request, such records are outside of the government’s
       possession, custody, and control. We do not share your characterization of the United
       States’ and Brazil’s respective investigations as a “joint” investigation.

Id. at 1-2 (internal citations omitted). To date, the government has not produced any documents

or made any disclosures in response to the Discovery Requests.




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           C. The Status Conference.

       On August 10, 2023, the Court held a status conference (the “Status Conference”), during

which defense counsel stated that Mr. Oztemel likely would move under Brady/Giglio to compel

discovery of (1) Attorney Proffers and (2) materials held by the Brazilian authorities. See ECF

No. 71 at 10:13-11:20. After the conference, government counsel represented to defense counsel

that no Attorney Proffers took place and that the DOJ Fraud Section has an unwritten policy

precluding them, so as to avoid the need to produce (or to litigate the production of) any

documentation concerning them. Boxer Decl. ¶ 8. As described below, we take issue with the

government’s statement that no Attorney Proffer has taken place.

                                          GOVERNING LAW

  I.   Brady and Giglio.

       In Brady, the Supreme Court held “that the suppression by the prosecution of evidence

favorable to an accused upon request violates due process where the evidence is material either

to guilt or to punishment, irrespective of the good faith or bad faith of the prosecution.” 373 U.S.

at 87. This disclosure duty applies to impeachment evidence as well as to exculpatory evidence.

See Giglio, 405 U.S. at 154. “[T]rue Brady material must be (1) favorable, (2) suppressed, and

(3) prejudicial.” United States v. Hunter, 32 F.4th 22, 31 (2d Cir. 2022).

       Favorable. Evidence is “favorable” when it “tends to exculpate the accused” or is

“useful to impeach the credibility of a government witness.” Coppa, 267 F.3d at 139; see also

United States v. Avellino, 136 F.3d 249, 255 (2d Cir. 1998) (Brady material “go[es] to the heart

of the defendant’s guilt or innocence” or has “the potential to alter the jury’s assessment of the

credibility of a significant prosecution witness”). Brady and Giglio are not limited to admissible

evidence: the government must “make the defense aware of material information potentially



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leading to admissible evidence favorable to the defense.” United States v. Rodriguez, 496 F.3d

221, 226 (2d Cir. 2007).

       Suppressed. The Brady obligation is violated when the prosecution fails to disclose

information “known to the prosecutor.” Hunter, 32 F.4th at 35 (quotations omitted).

Information is “known to the prosecutor” when it “is possessed by others on the ‘prosecution

team’”—even if it is not known to the prosecutor himself/herself. Id. at 36. Although

prosecutors need not search the “whole-of-government” for Brady material, id. at 37, they must

disclose information received from another agency—or even foreign government—where they

have conducted a “joint investigation,” United States v. Middendorf, No. 18 Crim. 36, 2018 WL

3956494, at *4 (S.D.N.Y. Aug. 17, 2018); see United States v. Connolly, No. 16 Crim. 370, 2017

WL 945934, at *8 (S.D.N.Y. Mar. 2, 2017) (applying “joint investigation” analysis to a foreign

government).

       Prejudice/Materiality. The materiality of evidence is determined by reference to its

likely impact on a trial. “[A] prosecutor must disclose evidence if, without such disclosure, a

reasonable probability will exist that the outcome of a trial in which the evidence had been

disclosed would have been different.” Coppa, 267 F.3d at 142. The government has a Brady or

Giglio disclosure obligation “where non-disclosure of a particular piece of evidence would

deprive a defendant of a fair trial.” Id. at 140.

       Most Brady motions are adjudicated under these standards after a defendant has been

convicted. See Coppa, 267 F.3d at 140 (“Although the government’s obligations under Brady

may be thought of as a constitutional duty arising before or during the trial of a defendant, the

scope of the government’s constitutional duty . . . is ultimately defined retrospectively, by

reference to the likely effect that the suppression of particular evidence had on the outcome of



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the trial.”). And there is an “inherent difficulty” in assessing materiality/prejudice before trial,

when much of the contours of the government’s case-in-chief (e.g., its witnesses) are unknown.

United States v. Villa, No. 12 Crim. 40, 2014 WL 280400, at *1-2 (D. Conn. Jan. 24, 2014).

Nevertheless, courts conducting pre-trial Brady analyses apply a similar examination as post-

trial: whether there is a sufficient probability that disclosure of the evidence would “undermine[

] confidence in the outcome of the trial.” Coppa, 267 F.3d at 140-41; see Villa, 2014 WL

280400, at *2. Finally, district courts have wide discretion to order such disclosures before trial.

See Villa, 2014 WL 280400, at *2 (citing Coppa, 267 F.3d at 146).

 II.   The Court’s Standing Order.

       In the District of Connecticut, in “all criminal cases,” the Court’s Standing Order

requires:

       (A)(1) within 14 days after the arraignment or within the period established by the
       discovery conference or otherwise established by the court, the attorney for the
       government shall furnish to defense counsel copies ... of the following items within the
       government’s possession, custody or control, the existence of which is known or by the
       exercise of due diligence could be known to the attorney for the government. . . .

               (j) all information that may be favorable to the defendant on the issues of guilt or
               punishment and that falls withing the scope of Brady v. Maryland, 373 U.S. 83
               (1963) and its progeny”; [and]

               (k) all information concerning the existence and substance of any payments,
               promises of immunity, leniency, or preferential treatment, made to prospective
               government witnesses, within the scope of United States v. Giglio, 450 U.S. 150
               (1972), Napue v. Illinois, 360 U.S. 264 (1959), and their progeny[.]

Stnd. Ord. § (A); see also United States v. Washington, 263 F. Supp. 2d 413, 421 (D. Conn.

2003) (Brady/Giglio violation based on failure to disclose in the time set by the Standing Order).




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                                                 ARGUMENT

          The government has not sought relief from the deadlines in the Standing Order; it needed

to produce all Brady/Giglio evidence by March 13, 2023. The defense should have received the

information demanded in the Discovery Requests long ago.

    I.    The Government Must Produce Brady/Giglio Evidence from Attorney Proffers.

          Exculpatory material in an Attorney Proffer is subject to Brady/Giglio to the same degree

as exculpatory material in a witness proffer. See United States v. Triumph Cap. Grp., Inc., 544

F.3d 149, 161-65 (2d Cir. 2008) (Brady/Giglio violation based on non-disclosure of agent notes

on Attorney Proffer); United States v. Weigand, 482 F. Supp. 3d 224, 248-49 (S.D.N.Y. 2020)

(ordering the government to produce information relating to an Attorney Proffer under

Brady/Giglio).5 The government has stated three grounds for not producing Brady/Giglio

material contained in Attorney Proffers. None is valid.

          First, after the Status Conference, government counsel stated that no Attorney Proffers

have occurred because the DOJ Fraud Section has a policy against them. Boxer Decl. ¶ 8. This

representation is questionable for two primary reasons:

      •   The defense is aware that attorneys for a witness made a presentation to the government
          that included factual representations that directly contradict allegations in the Indictment
          and key contentions in Mr. Berkowitz’s 302s—quintessential Brady/Giglio material.

      •   The Government Response states that the government is “reviewing any factual
          representations made by attorneys for represented parties.” Boxer Decl. Exh. C at 1. If
          no attorney proffered to the government, then there should be nothing for the government
          to “review.”

The government has not produced any notes or summaries of any statement(s) of evidence or

fact(s) favorable to Mr. Oztemel made by any attorney for a witness during a meeting,


5
 See also United States v. Saffarinia, 424 F. Supp. 3d 46, 92 (D.D.C. 2020) (“[T]he Court directs the
government to identify the Brady material, including the attorney proffer materials, within its
production.”)
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presentation, or conversation with the government. See United States v. Mahaffy, 693 F.3d 113,

131 n.11 (2d Cir. 2012) (“It is not enough that a defendant knew a potential witness’s identity;

the defendant had to know or should have known the essential facts permitting him to take

advantage of any exculpatory evidence.”).

       Second, the government states that it is “reviewing any factual representations made by

attorneys for represented parties and will disclose any relevant facts that are not already known

to [Mr. Oztemel] through other discovery pursuant to our Brady and Giglio obligations.” Boxer

Decl. Exh. C at 1. The government has provided no legal support for limiting its production of

Brady/Giglio material in attorney proffers (1) to “relevant facts” (i.e., not the actual notes) that

are (2) not found elsewhere in its voluminous discovery productions. Although evidence is not

“suppressed” under Brady if the defendant “knew or should have known the ‘essential facts’

permitting him to take advantage” of any exculpatory evidence, an Attorney Proffer regarding

one witness unknown to the defense that corroborates already-produced exculpatory evidence

from another witness is new exculpatory information—i.e., new “relevant facts”—as it is an

“essential fact” from a potentially valuable witness “only known to the government.” United

States v. Djibo, No. 15 Crim. 88, 2019 WL 1517086, at *8 (E.D.N.Y. Apr. 8, 2019) (quotation,

emphasis omitted). Accordingly, the records of such attorney proffers must be produced in full.

       And third, the government states that it will not produce Brady/Giglio material relating

to attorney proffers to the extent it is found in the notes of government counsel because “[they]

are not aware of any legal authority supporting [the] demand for notes prepared by government

attorneys.” Boxer Decl. Exh. C at 2. This categorical refusal to produce Brady/Giglio materials

in attorney notes is unjustifiable. The government must inform the defense of Brady/Giglio

material regardless of format. See, e.g., Rodriguez, 496 F.3d at 226 (government must disclose



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Brady/Giglio material that was conveyed orally—i.e., even if no document or recording exists).

Courts do not relieve the government of Brady/Giglio obligations simply because the material in

question is contained in a prosecutor’s or agent’ notes. See Kyles v. Whitley, 514 U.S. 419, 449

(1995) (“prosecutor’s notes of his interview” with a witness were Brady/Giglio material); see,

e.g., Triumph Cap., 544 F.3d at 161-65 (noting the government’s failure to disclose investigating

agent’s proffer notes violated Brady); see also Turner v. United States, 582 U.S. 313, 320-23

(2017) (analyzing whether attorney notes were Brady material); In United States v. Reid, 300 F.

App’x 50, 52 (2d Cir. 2008) (summary order) (same). Otherwise, prosecutors could avoid

disclosing exculpatory information simply by putting it in their notes.

 II.   The Government Must Make a Good Faith Effort to Produce Brady/Giglio Evidence
       Possessed by the Brazilian Authorities.

       The Brazilian authorities possess Brady/Giglio evidence relevant to the instant

prosecution. The government must make a good faith effort to acquire and produce that

evidence because it has jointly worked with the Brazilian authorities and brought this

prosecution in reliance on and in conjunction with Operation Car Wash. Allowing the

government to limit its Brady/Giglio obligation to the information it has selectively requested

and received from the MPF—without requiring it to make a good faith effort to pursue critical

exculpatory information from the MPF—would be unfair and contrary to governing precedent.

           A. The Government Must Make a Good Faith Effort to Produce Brady/Giglio
              Material Possessed by a Foreign Government When Conducting a “Joint
              Investigation.”

       The government must produce Brady/Giglio evidence possessed by members of the

“prosecution team.” Hunter, 32 F.4th at 35-36 (quotations omitted). If the government works

with an outside, domestic agency, it must produce Brady/Giglio evidence in the “sole

possession” of that agency when the government and that agency have engaged in a “joint

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investigation.” United States v. Martoma, 990 F. Supp. 2d 458, 460 (S.D.N.Y. 2014). This

holding requires courts to consider whether the government and the agency “engaged in joint

fact-gathering,” United States v. Gupta, 848 F. Supp. 2d 491, 494 (S.D.N.Y. 2012), examined on

a “case-by-case” basis, Martoma, 990 F. Supp. 2d at 460-61. Courts typically evaluate five

(non-exclusive) factors in determining whether a joint investigation exists: “whether the other

agency (1) participated in the prosecution’s witness interviews, (2) was involved in presenting

the case to the grand jury, (3) reviewed documents gathered by or shared documents with the

prosecution, (4) played a role in the development of prosecutorial strategy, or (5) accompanied

the prosecution to court proceedings.” United States v. Ingarfield, No. 20 Crim. 146, 2023 WL

3123002, at *3 (S.D.N.Y. Apr. 27, 2023).

       Courts that have examined the issue of coordination between the DOJ and foreign law

enforcement have used the “joint investigation” with a domestic agency analysis to determine

whether the DOJ must produce exculpatory material from foreign partners. See Connolly, 2017

WL 945934, at *8. However, because principles of international comity prevent the DOJ from

demanding information from its foreign counterparts, even in a “joint investigation,” the

“Government’s Brady obligation would extend only to a good-faith effort to get documents from

the foreign sovereign.” Id. at *9; cf. United States v. Lee, 723 F.3d 134, 141 (2d Cir. 2013) (Rule

16 requires “good-faith efforts to obtain the documents” underlying wiretaps in “joint

investigation” with foreign government); United States v. Yousef, 327 F.3d 56, 129 (2d Cir.

2003) (Jencks Act requires a “good-faith effort to obtain the statements of prosecution witnesses

in the possession of the foreign government” in “joint investigation”) (quotation omitted).




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            B. The DOJ and Brazilian Authorities Conducted a “Joint Investigation”
               Stemming from Operation “Car Wash.”

        The prosecution of Mr. Oztemel stems from Operation Car Wash and involves extensive

cooperation between the DOJ and MPF. Three of the factors courts consider for the “joint

investigation” analysis illustrate the point.6

        First, the government conducted joint interviews with the MPF. The government has

produced Portuguese witness statements

                                                                                         Boxer Decl.

Exh. D. Government counsel attended these proffers along with members of Brazil’s “Lava Jato

Investigation Task Force”—including members of the MPF and Brazil’s Federal Police. Id.




                                 . See, e.g., Boxer Decl. Exh. E at 2 (describing the alleged Miami

2011 meeting). This constitutes “joint fact-gathering.” Gupta, 848 F. Supp. 2d at 494.

        Second, the government has relied on the MPF’s documents and work product. The

government has produced as Rule 16 material MPF investigation reports in Portuguese

                                                                    Boxer Decl. Exh. F. These

investigative reports, which seem to have been created in 2018, are the clear blueprint for the

government’s investigation, which began in 2019; thus, the MPF—not the DOJ—is the catalyst

behind this prosecution. The government has also produced non-Petrobras emails, presumably

produced to the DOJ by Brazilian law enforcement, that contain communications from “alias”

email addresses of individuals who were subjects of the MPF investigation,                                   .



6
 The defense is unaware of whether or not the Brazilian authorities directly or indirectly participated in
U.S. grand jury proceedings.
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Boxer Decl. Exh. G. Moreover, the government showed



                                      suggesting that the government received the documents from

the MPF. Boxer Decl. Exhs. H and I.

          And third, the government has coordinated its prosecution strategy with the MPF across

the Operation Car Wash cases. The profit sharing in the DOJ’s non-prosecution agreements

(“NPAs”) and deferred prosecution agreements (“DPAs”) in Petrobras-related FCPA actions

illustrates the point. For example, on September 26, 2018, Petrobras itself entered a NPA in

which it agreed to pay a criminal penalty of $853.2 million for FCPA violations relating to bribes

allegedly received by its employees. See Non-Prosecution Agreement, Petroleo Brasileiro S.A.,

U.S. Dept’ J. (Sept. 26, 2018).7 Under the terms of the NPA, $85.3 million (10%) would be paid

to the DOJ; $85.3 million (10%) would be paid to the Securities and Exchange Commission; and

$682.5 million (80%) would be paid to the MPF. See id. at 6.

          Similarly, on December 3, 2020, Vitol Inc.—a competitor of Trading Companies #1 and

#2—entered a DPA with the DOJ, agreeing to pay $135 million relating to allegations that its

employees bribed Petrobras officials. See Deferred Prosecution Agreement, Vitol Inc., U.S.

Dept’ J. (Dec. 3, 2020) (“Vitol DPA”).8 Under the Vitol DPA, Vitol agreed to pay $45 million

(33%) of its criminal penalty to the Brazilian authorities. Id. at 10. Like this case, these other

Car Wash prosecutions stemmed from the conduct of—and pivoted on the cooperation of—

Rodrigo Berkowitz. See, e.g., Vitol DPA ¶ 9 (describing the conduct of “Brazilian Official 2”,

presumably Berkowitz, who used the codenames “Batman” and “Robson Santos”).




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    Available At: https://www.justice.gov/opa/press-release/file/1096706/download.
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    Available At: https://www.justice.gov/d9/press-releases/attachments/2020/12/03/vitol_dpa_0.pdf.
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       Likewise, the DOJ entered into a Deferred Prosecution Agreement with Honeywell UOP

LLC, a subsidiary of Honeywell International Inc., under which Honeywell agreed to pay $160

million to resolve investigations relating to its employees alleged payments of about $4 million

in bribes to Petrobras officials in order to win a contract to design and build an oil refinery. See

Deferred Prosecution Agreement, Honeywell UOP LLC, U.S. Dept’ J., 22 Crim. 624, ECF No.

10 (S.D.T.X. Dec. 19, 2022) (“Honeywell DPA”).9 Under the terms of the Honeywell DPA,

Honeywell agreed to pay $81 million to the SEC; $39.4 million to the DOJ; and $39.6 million to

the Brazilian authorities. See id.

       This high degree of cooperation makes the MPF part of the “prosecution team” for

purposes of Brady/Giglio. The fact that the government resorted to MLAT procedures to gather

evidence from Brazilian authorities should not bear on the issue of whether it conducted a joint

investigation with Brazil; we are unaware of any authority that permits a country to ignore its

requirement of formal process for foreign evidence gathering in a joint investigation. See U.S.A.

and the Gov. of the Fed. Rep. of Brazil on Mutual Legal Assistance in Crim. Matters, Treaty

Doc. 105-42, 105th Congress, 2d Session (Oct. 14, 1997) (creating a “Central Authority” in the

United States and in Brazil for all law enforcement evidence gathering requests).

           C. The Brazilian Authorities Likely Possess Significant Brady/Giglio Material.

       The government’s case is built on a single cooperator: Rodrigo Berkowitz. The

Indictment is replete with references to his conduct. In 2019, Mr. Berkowitz pleaded guilty to

conspiracy to commit money laundering pursuant to a cooperation agreement. See U.S.A. v.

Berkowitz, 19 Crim. 64, Guilty Plea Alloc., ECF No. 13 (E.D.N.Y. Feb. 14, 2019). The

government’s case will turn on Mr. Berkowitz’s testimony and his credibility. Given Mr.


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  Available At: https://www.justice.gov/d9/press-releases/attachments/2023/01/13/honeywell-uop-dpa-
from-docket_0.pdf.
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Berkowitz’s overwhelming importance to the government’s case, evidence undermining his

credibility is necessarily material. See, e.g., Wearry v. Cain, 577 U.S. 385, 394 (2016) (finding a

Brady/Giglio violation because jurors “might have thought differently” about the government’s

star witness had they known of “the possibility of a reduced sentence on an existing conviction”).

       There is a strong basis for the Court to conclude that the MPF possesses information that

would undermine Mr. Berkowitz’s credibility. For example,



                                                     . Boxer Decl. Exh. H at 2.




             have also not been produced. Such documents should be requested and produced

forthwith. See, e.g., Fraser v. City of New York, No. 20 Civ. 04926, 2021 WL 1338795, at *7

(S.D.N.Y. Apr. 9, 2021) (Brady/Giglio violation based on failure to disclose prior lies and

fabricated evidence by police officer witnesses).




           has also not been produced to the defense. Boxer Decl. Exh. D. The defense does

not know what



                                              J. See Jimenez v. Graham, No. 11 Civ. 6468, 2022

WL 2789217, at *4 (S.D.N.Y. July 15, 2022) (“Brady and its progeny require more than just the

disclosure of quid pro quo agreements; they require that the prosecution disclose any evidence




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impeaching a witness’s credibility.”) (citing Napue v. People of State of Ill., 360 U.S. 264, 270

(1959)).

       Furthermore,



                                       Boxer Decl. Exh. I at 9.




                                                                                              . See

United States v. Martoma, No. 12 Crim. 973, 2014 WL 31704, at *4 (S.D.N.Y. Jan. 6, 2014)

(Brady/Giglio requires disclosure of “threatened” criminal prosecution or “promised” leniency to

cooperators). While Mr. Berkowitz certainly has a strong motive to lie about Mr. Oztemel to

stay out of an American prison, he may have an even stronger motive to lie to stay out of a

Brazilian prison. See, e.g., Ernesto Londoño, Prison Riot Leaves 57 Dead in Northern Brazil,

N.Y. Times (July 29, 2019).10 And if Mr. Berkowitz is lying, the “bulk” of the government’s

case would “unravel”—making all this evidence in the MPF’s possession Brady/Giglio material.

United States v. Martinez, 388 F. Supp. 3d 225, 235 (E.D.N.Y. 2019).


                                             CONCLUSION

       For all the reasons set forth above, the Court should enter an Order directing the

government to forthwith produce all Brady and Giglio materials in Attorney Proffers that are in

the government’s possession, custody, or control, or the existence of which is known, or by the

exercise of due diligence could be known to the attorneys for the government, and the Court


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  Available At: https://www.nytimes.com/2019/07/29/world/americas/brazil-prison-
dead.html#:~:text=RIO%20DE%20JANEIRO%20%E2%80%94%20A%20fight,decapitated%2C%20according%20
to%20prison%20officials.

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should enter an Order compelling the government to make a good faith effort to obtain Brady

and Giglio material from the Brazilian authorities.


Dated: New York, New York
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